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                      UNITED STATES DISTRICT COURT

                      WESTERN DISTRICT OF LOUISIANA

                             ALEXANDRIA DIVISION



 UNITED STATES OF AMERICA                   CRIMINAL ACTION
                                            NO. CV06-10030-A

 VERSUS

                                            JUDGE DEE D. DRELL
 KEVIN MORRIS                               MAGISTRATE JUDGE JAMES D. KIRK




            REPORT AND RECOMMENDATION OF MAGISTRATE JUDGE

       Before the court are two motions to remove a federal detainer

 and to receive credit for federal custody prior to sentencing filed

 by Kevin Morris (“Morris”) on February 26 and 26, 2008 (Docs. 106,

 108). Since Morris is challenging the manner in which his sentence

 is being carried out, these motions fall within the ambit of 28

 U.S.C. § 2241.

       On June 23, 2008, Morris was ordered to demonstrate full

 exhaustion of his administrative remedies pursuant to 28 C.F.R. §§

 542.10, et seq., by providing the court with copies of his appeals

 to and responses from the warden, the Regional Director, and the

 General Counsel within forty-five (45) days from the date of that

 order (Doc. 112).     Morris has failed to comply with this court’s

 order.

       Morris was then given notice, on August 18, 2008, that failure

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 to comply with that order within ten (10) days from the date of the

 notice would result in a recommendation that the complaint be

 dismissed pursuant to Fed.R.Civ.P. rule 41(b) (Doc. 113). Over ten

 days have passed since August 18, 2008, and Morris has not yet

 complied with the court’s order.

        Accordingly,

        IT IS RECOMMENDED that Morris’ Section 2241 petition be

 DISMISSED WITHOUT PREJUDICE for failure to comply with an order of

 this   Court.         See   Rule   41(b)   of   the   Federal      Rules   of    Civil

 Procedure; Link v. Wabash Railroad Co., 370 U.S. 626, 82 S.Ct.

 1386, 8 L.Ed.2d 734 (1962); Gonzalez v. Trinity Marine Group, Inc.,

 117 F.3d 894, 898 (5th Cir. 1997).

        Under    the    provisions     of   28    U.S.C.    §      636(b)(1)(c)    and

 Fed.R.Civ.P. 72(b), the parties have ten (10) business days from

 service of this Report and Recommendation to file specific, written

 objections with the Clerk of Court.             A party may respond to another

 party’s objections within ten (10) days after being served with a

 copy thereof.         A courtesy copy of any objection or response or

 request for extension of time shall be furnished to the District

 Judge at the time of filing.          Timely objections will be considered

 by the district judge before he makes a final ruling.

        A PARTY’S FAILURE TO FILE WRITTEN OBJECTIONS TO THE PROPOSED

 FINDINGS, CONCLUSIONS AND RECOMMENDATIONS CONTAINED IN THIS REPORT

 WITHIN TEN (10) BUSINESS DAYS FROM THE DATE OF ITS SERVICE SHALL

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 BAR AN AGGRIEVED PARTY, EXCEPT ON GROUNDS OF PLAIN ERROR, FROM

 ATTACKING ON APPEAL THE UNOBJECTED-TO PROPOSED FACTUAL FINDINGS AND

 LEGAL CONCLUSIONS ACCEPTED BY THE DISTRICT JUDGE.

       THUS DONE AND SIGNED at Alexandria, Louisiana, on this 22nd

 day of September, 2008.




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